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  8                         UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
 10                                  WESTERN DIVISION
 11
 12    OX LABS INC., a California                  Case No. CV 18-5934-MWF(KSx)
       Corporation,
 13                                                JOINT PROPOSED VOIR DIRE
 14                Plaintiff,                      QUESTIONS

 15                       vs.
                                                   Pretrial Conf: November 18, 2019
 16    BITPAY, INC., a Delaware                    Time: 11:00 a.m.
       Corporation, and Does 1-10,                 Dept.: 5A
 17
                                                   Trial: December 3, 2019
 18                Defendants.
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 22
 23         Pursuant to L.R. 16-2 and the Court’s Order Regarding Jury Trial (Dkt. 22),
 24   Plaintiff Ox Labs Inc. (“Ox Labs”) and Defendant Bitpay, Inc. (“BitPay”) submit
 25   the following proposed voir dire questions for the Court’s consideration:
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      JOINT PROPOSED VOIR DIRE QUESTIONS
      Case No. CV 18-5934-MWF(KSx)
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  1         1.     Have you, a family member, or a close friend ever purchased, sold, or
  2   traded Bitcoin or any other virtual currency?
  3         2.     Are you thinking about purchasing Bitcoin or any other virtual
  4   currency in the future?
  5         3.     Have you, a family member, or a close friend ever worked for a
  6   company whose business deals in Bitcoin or any other virtual currency?
  7         4.     Do you know any individuals who work for Ox Labs, SFOX, or
  8   BitPay?
  9         5.     Have you ever heard of BitPay?
 10         6.     Have you ever heard of Ox Labs or SFOX?
 11         7.     Do you have any negative impressions or opinions about those who
 12   buy, sell, or trade Bitcoin or other virtual currencies?
 13         8.     Do you have a PhD or other advanced degree?
 14         9.     Are you a business owner?
 15         10.    Would you describe yourself as knowledgeable about Bitcoin or any
 16   other virtual currency?
 17         11.    Have you or a family member ever owned or managed a business that
 18   was involved in litigation over a business dispute?
 19         12.    Have you ever served on a jury before?
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      PLAINTIFF’S PROPOSED VOIR DIRE QUESTIONS
      Case No. CV 18-5934-MWF(KSx)
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  1                            CERTIFICATE OF SERVICE
  2         I certify that counsel of record, listed below, is being served on November 4,
  3   2019, with a copy of this document through the CM/ECF Filing System as identified
  4   on the Notice of Electronic Filing dated November 4, 2019.
  5
                                                                   /s/ Anahit Samarjian
  6                                                                Anahit Samarjian
  7
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      PLAINTIFF’S PROPOSED VOIR DIRE QUESTIONS
      Case No. CV 18-5934-MWF(KSx)
